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AO 105(Rev. 04/10) Application for a Search Warrant


                                                    United States District Court
                                                                                            for the
                                                                       Western District of New York

                                                    In the Matter of the Search of
                               ilhujlv dfi>.r.he     properly lo heicjnhcJ or idmufv Owptno'i ^>' fhmu'ar.d ^jddrea.)


 Storage Units Numbered 24 and 29 located at                                                                                          Case No. 19-mj-1083
 2595 Niagara Falls Blvd., Niagara Falls, New York 14304

                                                       APPLICATION FOR SEARCH WARRANT

              I, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that on the following person or property (utenujy iiu-p^non or describe ihe
properiv fc    senrched tind      lis locdlion)'.

 Storage Units Numbered 24 and 29 located at 2595 Niagara Falls Blvd., Niagara Falls, New York 14304, and
 containers therein, more fully described in Attachment A

located in the Western Distria ofNew York, there is now concealed adenufy the perso,, or <i.scnK-ihepropersyio he seized/.

 Sec Attachment B, Items to be Searched for and Seized.


The basis for search under Fed. R. Grim. P. 41(c) is (check one or more):
              s evidence of a crime;
              E contraband, fruits of crime, or other items illegally possessed;
              S property designed for use, intended for use, or used in committing a crime;
              □ a person to be arrested or a person who is unlawfully restrained.
The search is related to violations of Title 18, United States Code, Section 875(c) and Seaion 115(a)(1).

The application is based on these facts:

              H   continued on the attached sheet.
              D   Delayed notice of                          days (give exact ending date if more than 30 days:                                            .) is
                  requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                                                        4




                                                                                                        LAWRENCE ANYASO
                                                                                                        SPECIAL AGENT
                                                                                                         UNITED STATES CAPITOL POLICE
                                                                                                                        Printi'il ikiine and tille



Sworn to before me and signed in ray presence.

Date: Junc^U2019
                                                                                                                              JuJyc's .■^lyntUure


                                                                                                         JEREMIAH J. McCarthy
City and slate: Bulfalo. New York                                                                        UNITED STATES MAGISTRATE JUDGE
                                                                                                                            J'niUnl luiiiie tiiul i'ille
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                                         Attachment A

                                Property to be Searched

       Storage Unit One and Storage Unit Two, and containers therein, are operated by The

Storage Mall and are located at 2595 Niagara Falls Boulevard, Niagara Falls, New York

14303. Storage Unit One is numbered "24" and Storage Unit Two is numbered "29." They

are depicted in the photographs below.
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                                       Attachment B

                           Items to be Searched For and Seized




       Items comprising evidence of, or property used in committing, a violation of Title 18,

United States Code, Sections 115(a)(1) and 875(c), consisting of:


       1.      materials, equipment, and devices for making explosives, bombs,or incendiary
               devices, including, but not limited to, methanol and aluminum powder.
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        AFFroAvrr m support of an application under rule 4i
                     FOR A WARRANT TO SEARCH AND SEIZE




STATE OF NEW YORK )
COUNTY OF ERIE    )                SS:
CITY OF BUFFALO   )



       I, Lawrence Anyaso, being duly sworn, hereby depose and state as follows:



                   INTRODUCTION AND AGENT BACKGROUND


       1.      I am a Special Agent with the United States Capitol Police (the "USCP"). I

am currently assigned to the USCP Investigations Division, Threat Assessment Section. As

a Special Agent assigned to the Threat Assessment Section, I have participated in numerous

investigations into threats against members of Congress, including violations of Tide 18,

United States Code, Sections 115 (Retaliating Against a Federal Official) and 875(c)

(Interstate Communication ofa Threat).



       2.      I have completed hundreds of hours of training in law enforcement

investigation techniques, including the Criminal Investigator Training Program at the Federal

Law Enforcement Training Center ("FLETC"); the USCP three-week Crime Scene

Investigation course; and the two-week FLETC Intemet Investigation Training program

("IITP"). The IITP course provided me with training in conducting investigations into on

line crimes which include the use of undercover computers, email accounts, and provided

forensic tools used to examine electronic devices for evidence. In the course of my
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employment as a Special Agent with the USCP, I have received training regarding the

application for and execution of both search and arrest warrants. In my current assignment,

I have participated in and conducted numerous investigations involving illegal activity

including stalking and threatening communications, both locally and interstate.



       3.       This Affidavit is made in support ofan application for a second search wanant

to search two storage units (the "Storage Units") rented by Carlos Bayon, described more

fiilly in Attachment A hereto, for the items described in Attachment B hereto.



       4.      This Affidavit is based upon my participation in this investigation, my

examination ofreports and records, and my conversations with other law enforcement agents

and other individuals, as well as my training and experience. Because this Affidavit is being

submitted for the limited purpose of obtaining the warrant, it does not include all the facts

that I have learned during the course ofthis investigation. Where the contents ofdocuments

and the actions, statements, and conversations ofothers are reported herein, they are reported

in substance and in part, except where otherwise indicated.



                                  THE STORAGE UNITS


       5.      The Storage Units are rental storage units that are operated by The Storage

Mall and are located at 2595 Niagara Falls Boulevard, Niagara Falls, New York 14303. The

first unit is numbered "24"("Storage Unit One")and the second is numbered "29"("Storage

Unit Two"). They are depicted in the photographs below.
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                                  THE SUBJECT OFFF.NSF.


       6.       For the reasons detailed below, there is probable cause to believe that the

Storage Units contain evidence, fruits, and instrumentalities of violations of 18 U.S.C.

§§ 115(a)(1) and 875(c).




       7.       As set forth in detail below, there is probable cause to believe that Carlos Bayon

committed violations of 18 U.S.C. §§ 115(a)(1)(Retaliation Against a Federal Official) and

875(c)(Interstate Communication of a Threat). Further, there is probable cause to conclude

that evidence of, and fruits and instrumentalities of, these violations are within Storage Units

One and Two.




                                     PROBABLE CAUSE


       8.       On July 2, 2018, the USCF Threat Assessment Section was contacted by a

person identified for the purposes of this Affidavit as "Witness One." Witness One is a staff

member in the Washington, D.C. office of a United States Congressman who, for the

purposes of this Affidavit, wDl be referred to as "Congressman One." Witness One reported
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that a threatening voicemail was received by the Congressman's office in Louisiana on June

30, 2018, at approximately 6:29 p.m.(GST).



         9.       Wimess One provided an email from a staff member, referred to for the

purposes ofthis Affidavit as "Witness Two," in the Congressman's Louisiana office who

received the voicemail. Witness Two described the caUer as "sounding to be late 40s with a

Hispanic accent" and provided information so that USCP could retrieve the voicemail.



         10.     I was able to record and review the voicemail left on the phone in Congressman

One's Louisiana office. The voicemail stated:

                 Hey listen, this message is for you and the people that sent you there.
                 You are taking ours, we are taking yours. Anytime, anywhere. We
                 know where they are. We are not going to feed them sandwiches, we
                 are going to feed them lead. Make no mistake you will pay. Ojo por ojo,
                  diente por diente.' That is our law and we are the majority. Have a good
                  day.



         11.     I obtained exigent business information from AT&T for incoming phone calls

to Congressman One's Louisiana office, which revealed that the only number that called

around the time ofthe voicemail was 716-830-0194.




         12.      I conducted a search in the law enforcement database ACCURINT for 716-

830-0194. It revealed that the phone number 716-830-0194 is assigned to a "Carlos Bayon"




'This is Spanish for "an eye for an eye, a tooth for a tooth."
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and an address listed as P.O. Box 71, Getzville, New York. The search results also revealed

that the phone service provider was Sprint.



        13.   I called the phone number 716-830-0194 and listened to the voicemail greeting.

The voice on the greeting sounded the same as the voice that left the threatening voicemail

on Congressman One's Louisiana office phone.



        14.   On July 5, 2018, USCP was contacted by a staff" member, referred to for the

purposes of this Affidavit as Wimess Three, in the Spokane, Washington office of another

United State Congressman, referred to for the purposes of this Affidavit as "Congressman

Two."     Witness Three reported a voicemail that was left on the Congressman's office

voicemail on June 30, 2018, at approximately 4:37 p.m.(PST).



        15.   Witness Three provide a copy of the voicemail to me. I listened to the

voicemail. It stated:

              Yeah,listen. This is message is for you and for the people that sent you
              there. You're taking ours. We're taking yours. Anytime, anywhere. We
              know where they are. We are not going to feed them sandwiches. We
              are going to feed them lead. Make no mistake. You will pay. Ojo por
              ojo, diente por diente. That is our law and we are the majority. Have a
              good day.



        16.   The voice that left this voicemail sounded the same as the voice on the

voicemail left for Congressman One.
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       17.    On or about July 23, 2018, I received business records from Sprint which

showed that the phone number 716-830-0194 is assigned to a cell phone. The account billing

address is All Garage Door and Service Inc., P.O. Box 71 Getzville, NY 14068.



       18.    The account billing address shown in the Sprint records is the same address

ACCURINT lists for Bayon. ACCURINT also indicates that Bayon is the Chief Executive

Officer ofAll Garage Door and Service Inc.



       19.   Review of the Sprint records revealed that calls were made from Sprint phone

number 716-830-0194 to the offices of Congressman One and Congressman Two on Jime 30,

2018. The Sprint records showed that the calls were made using the cellular network in the

area of Buffalo, New York which is within the Western District of New York.




      20.    Further review of the Sprint records revealed additional calls made from the

same Sprint phone number on June 30, 2018, and July 1, 2018, to eight additional members

of Congress, including the Speaker ofthe House,the Senate Minority Leader, and the House

Majority Leader.



       21.    On July 26,2018,1 spoke to Investigator Colton with the University of Buffalo

police who advised that in or about April 2018 his agency received a harassment complaint

relating to Bayon. Investigator Colton advised that at the time of the April 2018 report,

Bayon was registered to take classes at the University. Investigator Colton provided the
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phone number they had listed for Bayon as 716-830-0194, which is the same number used to

caU in the threatening voicemails.



             The Execntion OfThe First Search Warrant For The Storage Units

       22.     Early in the morning on August 1, 2018, Special Agents ofthe USCP and FBI

executed a search warrant signed by this Court on July 31, 2018, that authorized a search of

the Bayon's apartment located at 2264 Center Court North, Apartment One, Grand Island,

New York, for a cellular telephone, records relating to members of Congress, and firearms

and ammunition. When the agents executed the search warrant, Bayon was present in his

apartment. Agents seized from the apartment approximately 150 rounds of 7.62 rifle

ammunition and approximately 50 rounds of shotgun ammunition. Agents also found a

receipt from 2004 relating to the purchase ofan SKS rifle(a high-powered assault rifle). The

150 rounds of7.62 ammunition are the type ofammunition fired by an SKS rifle. Despite the

presence ofthe receipt and ammunition, no firearms were found inside the apartment.



       23.     In searching for items that were within the scope of the search warrant, federal

agents also observed in the apartment a number of books concerning the use offirearms and

explosives, including the following books:

               How to create foolproof new identity
               Ragnar's homemade detonators
               Homemade C-4
               New & Improved C-4
               Middle Eastern Terrorist Bomb Designs
               Poor man's TNT
               CIA field manual for explosives prep
               Disguise techniques
               How to circumvent security alarms
               Silent But Deadly: homemade silencers
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              Hit Man: technical manual
              Expedient B&E: circumventing alarms
              Improvised radio detonation techniques
              Homemade Semtex
              Secrets ofa Super Hacker
              How to make disposable silencers
              How to build practical firearm suppressors



       24.    During my investigation ofthis matter,I learned from banking records obtained

by grand jury subpoena that Bayon rents two storage units, Storage Unit One and Storage

Unit Two, from The Storage Mall located at 2595 Niagara Falls Boulevard, Niagara Falls,

New York 14303. Bayon has rented the units since 2007. Consequently, 1 applied to this

Court for a search warrant to search the Storage Units for, among other things, firearms and

explosives. This Court signed the requested search warrant and it was executed by agents of

the United States Capitol Police and FBI on August 1, 2018. During the execution of the

search ofthe Storage Units, no firearms or explosive devices were found.



       25.    Bayon was subsequently indicted by a federal grand jury on two violations of

18 U.S.C. § 115(a)(1) and two violations of 18 U.S.C. § 875(c). Motion practice was

conducted before this Court and the case is now scheduled for trial before the Honorable

Frank P. Geraci, Jr., on August 12, 2019, under case number 18-CR-163.
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                           The June 20. 2019 Pretrial Conference


       26.    On Thursday, June 20, 2019, a pretrial conference was held before Judge

Geraci, at which Bayon appeared pro se. I have been informed by several employees of the

United States Attomey's Office who were in attendance at the pretrial conference, including

AUSAs Paul Bonanno and Jeremy Murray, and Paralegal Danielle Kingston, that Bayon

repeatedly stated on the record that he did in fact make the telephone caUs to the members of

Congress, as set forth above. Bayon also stated on the record during the pretrial conference

that he kept his rifle in the "warehouse" that the federal agents had searched and that he did

not know why the federal agents were unable to find the rifle there.



          The Execntioa OfThe Second Search "Warrant For The Storage Units


       27.    After I learned what Bayon had stated concerning his rifle during the pretrial

conference on June 20, 2019, I contacted Donna Black, the manager of the Storage Mall.

Ms. Black told me that Bayon had not made payment on his rental agreement for the Storage

Unit in a long time and was approximately $5,000 in arrears. Ms. Black said that after the

execution ofthe first search warrant on the Storage Units, she had secured them with her own

locks and that she had not given anyone access to the Storage Units or gone into them herself

since then. She also told me that she had filed a lien on the items within the Storage Units

and was planning to auction the items.



       28.    Although the Storage Units were searched in August 2018, the search was

made difficult by the fact that the Storage Units were filled with a variety of heavy materials

that were difficult to move and various containers that could conceal a rifle, as illustrated by
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the below pictures of the interiors of Storage Units One and Two below, which were taken

during   the   execution   of the   original    search   warrant   on   August   1,   2018;




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      29.    Consequently, on June 24, 2019, I sought authorization to search again the

Storage Units and containers and items within them for the rifle Bayon referenced in Court

on June 20, 2019.




      30.    This Court signed a search warrant authorizing a second search ofthe Storage

Units for firearms and ammunition.




      31.    On June 25, 2019, I along with other federal agents from the USCP and FBI

along with deputies fi^om the Niagara County Sheriffs Office executed the second search

warrant on the Storage Units. During the search, we found and seized an SKS rifle loaded

with ten 7.62 rounds (the same caliber as the ammunition previously found in Bayon's

apartment) and equipped with a bayonet. The rifle was found in a cardboard box in Storage

Unit Two.




      32.    While searching Storage Unit Two for the rifle and ammunition, we also

observed two full, one-pound containers of aluminum powder and a full, 5-gallon container

of methanol. Photographs ofthese containers are below:




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                                            S-LTE




                                                           AND



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       33.       Upon observing these containers of aluminum powder and methanol, and

recalling that Bayon had books in his apartment that referenced homemade explosives and

bombs (see paragraph 23 above), I contacted Raymond Eagan, Hazardous Devices

Technician with USCP in Washington, D.C. He explained to me that aluminum powder and

methanol are ingredients commonly used to make homemade explosives and bombs. Also,

knowing that Bayon had a business that engaged in garage door installation work, officers

contacted John Lombardi with Overhead Doors of Lockport. Mr. Lombard! has worked in

the garage door contracting business for sixty years. He informed us that the aluminum

powder and methanol are not used in repairing or installing garage doors. Based on this

information, there is probable cause to believe Bayon possessed these materials for the

purpose of making explosives.



                                     CONCLUSION


       34.    Based upon the foregoing facts, T respectfully request that the attached search

warrant be issued.




                                                  LAWRENCE ANYASO
                                                  Special Agent
                                                  United States Capitol Police

Sworn and subscribed to before me

this ^w'r^iday of June, 2019.


               y /T) W
JgKEMlAI^MCCARTHY
United States Magistrate Judge




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                                         Attachment A

                                Property to be Searched

      Storage Unit One and Storage Unit Two, and containers therein, are operated by The

Storage Mall and are located at 2595 Niagara Falls Boulevard, Niagara Falls, New York

14303. Storage Unit One is numbered "24" and Storage Unit Two is numbered "29." They

are depicted in the photographs below.
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                                       Attachment B

                           Ttems tn he Searched For and Seized




       Items comprising evidence of, or property used in committing, a violation of Title 18,

United States Code, Sections 115(a)(1) and 875(c), consisting of:


       1.     materials, equipment, and devices for making explosives, bombs,or incendiary
              devices, including, but not limited to, methanol and aluminum powder.
